               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                        Plaintiff,
 v.                                                   Case No. 96-CR-04-1-JPS-JPS

 JERRY WALKER,
                                                                      ORDER
                        Defendant.


       In 1998, the Court of Appeals ruled that Count One of Defendant’s

conviction was impermissibly duplicative of the other counts of conviction.

(Docket #412). On October 18, 2017, in accordance with this mandate, the

Court entered an order and amended judgment vacating Defendant’s

conviction on Count One of his sentence. (Docket #593). On October 27,

2017, Defendant moved for reconsideration of that order, arguing that the

Court must conduct a full resentencing in this case, including reevaluating

the sentencing factors outlined in 18 U.S.C. § 3553. (Docket #596). This is not

what the Court of Appeals directed, and this Court is not at liberty to do

more. U.S. v. Gibbs, 403 F. App’x 82, 83 (7th Cir. 2010) (a full resentencing

after an appeal is improper if the Court of Appeals’ mandate directed the

district court to correct a discrete error).1 Defendant’s motion must,

therefore, be denied.


       1On January 29, 2018, Defendant filed a motion seeking a ruling on his
motion for reconsideration. (Docket #608). The Court had refrained from deciding
the motion because it believed jurisdiction was lacking; Defendant had filed a
notice of appeal eight days after the motion was docketed. See (Docket #597). With
Defendant’s latest motion, the Court learned for the first time that the Court of
Appeals was waiting for a ruling on the motion for reconsideration. With the
issuance of this Order, Defendant’s motion for a ruling becomes moot.



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      Accordingly,

      IT IS ORDERED that Defendant’s motion for reconsideration

(Docket #596) be and the same is hereby DENIED; and

      IT IS FURTHER ORDERED that Defendant’s motion for a status

update (Docket #608) be and the same is hereby DENIED as moot.

      Dated at Milwaukee, Wisconsin, this 2nd day of February, 2018.

                                BY THE COURT:



                                ____________________________________
                                J. P. Stadtmueller
                                U.S. District Judge




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